Case 8:25-cv-00951-PX Document 225 Filed 07/10/25 Pageiof1

FILED ENTERED
LOGGED_ RECEIVED
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND JUL 10 2025
Klee: Araand, Abryo Gas" oxen SEEN cour
Plaintiff, 1 Aol an DISTRICT OF MARYLAND,
*
v. Case No. S225-cu- OOF’ | ~PKX
*
Krgt, Moem et al.
Defendant. *

ENTRY OF APPEARANCE IN A CIVIL CASE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

Enter my appearance as counsel in this case for the Deter dexte
of

I certify that I am admitted to practice in this Court.

ail ay Boag

Date 7 Signature

Erne:B Moline (CA 1§1S0")

Printed name and bar number

UNA

LO. Bry 67¢ Veskin stor yi Zooyy

Address

ernesto.h .molmng @Usdoy. GOV

Email address

ZO2 - GILU-F34Y4

Telephone number

ZO2~-6/b-4G975_

Fax number

EntrvofAppearanceCivil (08/2015)
